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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                    Case No.: 9:16-cv-81798-DMM

  TTT Foods Holding Company LLC,
  a Florida limited liability company,
                  Plaintiff,
  v.

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
  limited liability company,
                   Defendants.
  _________________________________/

                     DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                 MOTION TO STRIKE AFFIRMATIVE DEFENSES (DOC 36)

         COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

  an individual, by and through the undersigned attorneys, and file this their reply to Plaintiff’s

  Motion to Strike Amended Affirmative Defenses and Incorporated Memorandum of Law (DOC

  36), and state in support thereof as follows:

                                APPLICABLE LEGAL STANDARD

         Federal Rule of Civil Procedure 12(f) provides that a "court may strike from a pleading

  an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter." Fed. R.

  Civ. P. 12(f). However, "'[a] motion to strike is a drastic remedy,' which is disfavored by the

  courts." Thompson v. Kindred Nursing Ctrs. E., LLC, 211 F. Supp. 2d 1345, 1348 (M.D. Fla.

  2002) (quoting Augustus v. Bd. of Pub. Instruction of Escambia Cnty., Fla., 306 F.2d 862, 868

  (5th Cir. 1962)). Accordingly, motions to strike are usually "denied unless the allegations have


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  no possible relation to the controversy and may cause prejudice to one of the parties." Id.

  (internal quotation marks omitted); see also In re Se. Banking Corp. Sec. & Loan Loss Reserves

  Litig., 147 F. Supp. 2d. 1348, 1355 (S.D. Fla. 2001).

          An affirmative defense is one that admits to the allegations of the complaint, but avoids

  liability, wholly or partly, by new allegations of excuse, justification, or other negating matters.

  Royal Palm Sav. Ass'n v. Pine Trace Corp., 716 F. Supp. 1416, 1420 (M.D. Fla. 1989). An

  affirmative defense will only be stricken if it is insufficient as a matter of law. See Anchor

  Hocking Corp. v. Jacksonville Elec. Auth., 419 F. Supp. 992, 1000 (M.D. Fla. 1976). "A defense

  is insufficient as a matter of law if, on the face of the pleadings, it is patently frivolous, or if it is

  clearly invalid as a matter of law." Id. (citations omitted).

          Affirmative defenses are also subject to the general pleading requirements of Federal

  Rule of Civil Procedure 8. Federal Rule of Civil Procedure 8(b)(1)(A) requires that a party "state

  in short and plain terms its defenses to each claim asserted against it." Fed. R. Civ. P. 8(b)(1)(A).

  Although Federal Rule of Civil Procedure 8 does not obligate a defendant to set forth detailed

  factual allegations, a defendant must give the plaintiff "fair notice" of the nature of the defense

  and the grounds upon which it rests. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct.

  1955, 167 L. Ed. 2d 929 (2007).

                                                RESPONSE

                  1.      Plaintiff’s Motion to Strike Amended Affirmative Defenses and

  Incorporated Memorandum of Law (DOC 36) seeks to strike the 12th , 13th, 14th, 15th, 17th, and

  18th Affirmative Defenses.


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                 2.      The 12th Affirmative Defense provides the factual basis for the 17th and

  18th Affirmative Defenses.

                 3.      The factual allegation applicable to all three (3) aforementioned

  affirmative defenses follow.

                 4.      Bea’s Brooklyn’s Best LLC was organized and established by Plaintiff in

  2012 in order to carry on the business of Defendant DELUXE GOURMET SPECIALTIES, INC.,

  a company owned by Defendant BEATRICE NAMM.

                 5.      Bea’s Brooklyn’s Best LLC was operated and controlled by Plaintiff until

  March of 2015.

                 6.      Plaintiff had full control of all the books and records of Bea’s Brooklyn’s

  Best LLC and controlled all financial aspects of said entity.

                 7.      In January 2, 2015, Defendant BEATRICE NAMM sued two of the

  principles of Plaintiff, Jeffrey Brandon and Eric Scholer, for violating the Asset Purchasse

  Agerement dated December 11, 2012, which agreement was the operative agreement that

  resulted in the organization of Bea’s Brooklyn’s Best LLC in 2012; attached hereto as Exhibit

  “A” is a copy of the complaint filed in that lawsuit.

                 8.      On or about March 27, 2015, as part of settlement negotiations of the

  aforementioned lawsuit, Plaintiff relinquished control of Bea’s Brooklyn’s Best LLC to

  Defendant BEATRICE NAMM, in exchange for certain promissory notes to be paid exclusively

  by Brooklyn’s Best LLC.

                 9.      At that time, Plaintiff was represented by a group of attorneys who drafted


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  the promissory note, which group of attorneys included John Page and Bernice Lee, the two (2)

  attorneys representing Plaintiff in this case.

                 10.     Defendant BEATRICE NAMM did not sign or otherwise guarantee

  repayment of the promissory notes.

                 11.     Instead, Plaintiff agreed to accept the risks and consequences of

  Brooklyn’s Best LLC not repaying the said notes and Plaintiff knowingly and intentionally

  forfeited its ability to recover, in the event of a default, directly from Defendant Beatrice Namm.

                 12.     By May of 2015, less than two (2) months after the notes were signed,

  Plaintiff declared Bea’s Brooklyn’s Best LLC in default, accelerated all amounts owed, and filed

  suit in State Court on the notes.

                 13.     Again, this occurred less than two months after the notes were signed.

                 14.     Not only that, on or about June 1, 2015, Plaintiff began contacting all

  customers of Bea’s Brooklyn’s Best LLC demanding that the customers make all future

  payments owed to Bea’s Brooklyn’s Best LLC directly to Plaintiff’s attorneys’ trust account,

  telling the customers that Bea’s Brooklyn’s Best LLC was in default under the note (Plaintiff

  even provided the customers with copies of the notes); a copy of what was actually sent to Bea’s

  Brooklyn’s Best LLC’s customers is attached hereto and incorporated herein as Exhibit “B”.

                 15.     Plaintiff’s aforementioned conduct significantly interfered with the

  business relationship between Bea’s Brooklyn’s Best LLC and its customers, and directly

  affected Bea’s Brooklyn’s Best LLC’s ability to continue to operate.

                 16.     It also resulted in the filing of a counterclaim by Bea’s Brooklyn’s Best


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  LLC in the State Court proceedings, which counterclaim is attached hereto and incorporated

  herein as Exhibit “C”.

                  17.     It should come as no surprise that (1) Bea’s Brooklyn’s Best LLC no

  longer does business, and (2) that its only and exclusive product, a barbecue sauce sold mainly in

  Costco, Sams and Walmart, is no longer sold anywhere by anyone.

                  18.     Now Plaintiff wants this Court to hold Defendant BEATRICE NAMM

  personally liable for the promissory notes, even though Plaintiff entered into the contractual

  relationship created by the promissory notes knowing everything there was to know about the

  operation of Brooklyn’s Best LLC, Defendant BEATRICE NAMM and Defendant DELUXE

  GOURMET SPECIALTIES LLC, and Plaintiff, at all material time, was fully informed and

  never misled.

                  19.     Plaintiff now seeks, inequitably and in bad faith, with unclean hands and

  in violation of the principal that he who seeks equity should do equity, to hold Defendant

  BEATRICE NAMM liable for the notes she never agreed to guarantee, after Plaintiff accelerated

  the notes less than two months after they were initially delivered and interfered with Bea’s

  Brooklyn’s Best LLC’s customers and ability to continue to operate.

                  20.     Plaintiff now seeks to obtain what they could not, and did not, obtain

  through negotiations, to wit: to hold Defendant BEATRICE NAMM personally liable for the

  promissory notes, after effectively destroying her business.

                  21.     The foregoing facts are well know to Plaintiff and its attorneys and most of

  the facts, if not all, are undisputed.


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                 22.     Defendants submit that the foregoing provides an adequate factual basis to

  support the equitable defenses alleged in the 12th, 17th and 18th Affirmative Defenses, and that

  Plaintiff and its attorneys have adequate notice of the basis for the equitable defenses, and the

  Court should not strike the said defenses.

                 23.     However, if the Court finds that the allegations contained in the Amended

  Complaint are insufficient as a matter of law, Defendants request leave to file an amended

  pleading curing the deficiencies.

                 24.     There is no prejudice to Plaintiff by allowing the amendment.

                 25.     As to the 13th Affirmative Defense, it alleges that there is no joint and

  several liability under §§726.105 or 726.106, Florida Statutes (2016).

                 26.     That is an affirmative defense because the law is that Defendants cannot

  be held joint and severally liable for the damages awarded, regardless of whether or not Plaintiff

  proves a fraudulent transfer.

                 27.     As to the 14th Affirmative Defense, Defendants are alleging as an

  affirmative defense there is no “duty of loyalty”, “duty of care” or “duty to act in good faith [or]

  in the best interest of” owed to Plaintiff by Defendant BEATRICE NAMM, and that Plaintiff’s

  Count V fails to state a cause of action.

                 28.     It is submitted that Defendant BEATRICE NAMM has the obligation to

  allege same in their responsive pleading as a defense because even if Plaintiff was to prove

  everything alleged in its Count V, Defendants would still not be liable because they have none of

  the duties alleged; simply denying the allegations may not be sufficient and out of an abundance


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  of caution Defendants have pled it as an affirmative defense.

                 29.     Furthermore, it should be noted that the defense of failure to state a claim

  is specifically identified under Federal Rule of Civil Procedure 12(b)(6) as one that may be

  raised in either the responsive pleading or by motion.

                 30.     Federal Rule of Civil Procedure 12(b)(6) provides that "a party may assert

  the following defenses by motion: ... (6) failure to state a claim upon which relief can be

  granted[.]"

                 31.     Therefore, Defendants have alleged the defense of failure to state a cause

  of action as to Count V and same should not be stricken.

                 32.     As to the 15th Affirmative Defense, Defendants allege that Plaintiff has

  failed to joint a non-diverse indispensable required party, to wit: Bea’s Brooklyn’s Best LLC.

                 33.     Unquestionably, that established affirmative defense and should not be

  stricken.

                 34.     It seems difficult to imagine how Bea’s Brooklyn’s Best LLC could not be

  found to be an indispensable party to Plaintiff’s claim that Bea’s Brooklyn’s Best LLC made

  certain transfers that were fraudulent (i.e., Counts I-IV), or that Bea’s Brooklyn’s Best LLC owed

  Plaintiff certain fiduciary duties and that those duties were breached by Defendant BEATRICE

  NAMM in her corporate capacity as manager Bea’s Brooklyn’s Best LLC (i.e., Count V), or that

  Defendant BEATRICE NAMM is either the alter ego of Bea’s Brooklyn’s Best LLC or that the

  corporate veil of Bea’s Brooklyn’s Best LLC should be pierced (i.e., Count VII).

                 35.     Regardless of whether Defendants will prevail, the 15th Affirmative


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  Defense is a viable affirmative defense that should not be stricken at this stage of the proceedings.

                    36.   In conclusion, as pointed out earlier, a motion to strike affirmative defenses

  is a drastic remedy which is disfavored by the courts and motions to strike are usually denied

  unless the allegations have no possible relation to the controversy and may cause prejudice to one

  of the parties.

                    37.   In this case, the defenses are all related to the issues before the Court and

  there is no prejudice to Plaintiff by allowing the defenses to stand.

                    38.   For all the foregoing reasons discussed throughout this response, and

  considering the applicable law, it is submitted that the Plaintiff’s Motion to Strike Amended

  Affirmative Defenses and Incorporated Memorandum of Law (DOC 36) should be denied.

          WHEREFORE the Defendants request that this Court deny Plaintiff request to strike

  Defendants’ 12th , 13th, 14th, 15th, 17th, and 18th Affirmative Defenses. In the alternative,

  Defendants request leave to amend their pleading to cure any deficiencies.

                                                         /s/ Agustin R. Benitez
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